 Kent Ries, Attorney at Law
 State Bar No. 16914050
 PO Box 3100
 Amarillo, Texas 79116
 (806) 242-7437
 (806) 242-7440 – Fax
 kent@kentries.com

 COUNSEL FOR TRUSTEE




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                         AMARILLO DIVISION

 IN RE:                                                   §
                                                          §
 MCCLAIN FEED YARD, INC., et al.,1                        §        CASE NO. 23-20084-RLJ-7
                                                          §
                                                          §
           Debtors.                                       §        Jointly Administered

                               MOTION FOR APPROVAL OF EMPLOYMENT
                                 OF SPECIAL COUNSEL FOR TRUSTEE

 TO THE HONORABLE ROBERT L. JONES, BANKRUPTCY JUDGE:

           COMES NOW, Kent Ries, Trustee (“Trustee”) of the referenced Chapter 7 bankruptcy

 estates, and files this Motion for Approval of Employment of Special Counsel for Trustee, and in

 support thereof would respectfully show unto the Court as follows:

           1.         Debtors filed for relief under Chapter 7 of the United States Bankruptcy Code on

 April 28, 2023. Kent Ries was subsequently appointed and qualified to serve as the Trustee over the

 bankruptcy estate.

           2.         Trustee asserts it is necessary to employ special counsel, pursuant to 11 U.S.C. §

 327, to perform necessary legal services in obtaining and investigating records and information

 of the Debtors, and investigating and pursuing litigation claims of the Debtors’ bankruptcy

 estates. These cases pose substantial challenges recreating financial records of the Debtors and


          1
            The Debtors in these Chapter 7 cases are: McClain Feed Yard, Inc. (Case No. 23-20084-RLJ), McClain Farms, Inc.
(Case No. 23-20085-RLJ), and 7M Cattle Feeders, Inc. (Case No. 23-20086-RLJ)



 MOTION FOR APPROVAL OF EMPLOYMENT OF SPECIAL COUNSEL FOR TRUSTEE - Page 1
reviewing such information for potential litigation against numerous parties in Texas, Kentucky

and likely other states where the Debtors’ conducted business. The Debtors’ records appear to

be poor and unreliable. The Debtors’ losses, based on estimated creditor claims, exceed well

over 100 million dollars. The Trustee has spent considerable time investigating professionals

that have prior experience in similar cases and have current capabilities to provide the Trustee

with a litigation plan to identify and recover potential claims of the estate.

         3.        Trustee desires that he be authorized to employ the law firm of Quilling, Selander,

Lownds, Winslett & Moser, 2001 Bryan Street, Suite 1800, Dallas, TX 75201 (the “Quilling

Firm”), with Hudson Jobe as the primary counsel, and to pay the firm such compensation and

reimbursement of expenses as is just pursuant to 11 U.S.C. § 330 and Rule 2016 of the Federal

Rules of Bankruptcy Procedure. Hudson Jobe’s declaration as required by 11 U.S.C. § 327 is

attached hereto as Exhibit A and incorporated herein by reference for all purposes. As set forth in

the declaration, prior to these Chapter 7 filings, Hudson Jobe discussed with the Debtors’ CRO a

possible representation of the Debtors in filing Chapter 11 bankruptcy cases, but was never

formally retained and the Debtors chose not to move forward on Chapter 11 filings. Trustee and

Mr. Jobe believe that these communications do not present any conflict issues with Mr. Jobe’s

engagement as special counsel given the specific authorization for same under section 327(e).2

         4.        The normal rate for legal services provided by Hudson Jobe is $525.00 per hour,

plus out-of-pocket expenses. Although it is planned for Hudson Jobe to be the primary counsel

in this matter, it is likely other attorneys or paralegals of the Quilling Firm may also work on this



2
  The trustee, with the court’s approval, may employ, for a specified special purpose, other than to represent the
trustee in conducting the case, an attorney that has represented the debtor, if in the best interest of the estate, and if
such attorney does not represent or hold any interest adverse to the debtor or to the estate with respect to the matter
on which such attorney is to be employed.



MOTION FOR APPROVAL OF EMPLOYMENT OF SPECIAL COUNSEL FOR TRUSTEE - Page 2
matter under the direction of the Trustee. The range of fees for such professionals is outlined in

the engagement letter attached hereto as Exhibit B and incorporated herein for all purposes.

       5.      The Quilling firm typically requests a retainer for similar engagements. The

Quilling Firm will file a separate motion regarding a retainer agreement with appropriate notice

and hearing on same.

       6.      As set forth in the engagement letter, it is anticipated that a substantial amount of

fees and expenses in this engagement will be individual tasks or expenses that benefit more than

one of the Debtor’s bankruptcy estates. For those fees and expenses, the firm will utilize a single

billing invoice, and all three Debtors’ estates will be jointly and severally liable for those fees

and expenses. For fees and expenses that are clearly relevant to only one of the Debtor’s estates,

the firm will bill those fees and expenses on a separate invoice for that particular Debtor’s estate,

and only the specific Debtor’s estate will be responsible for this separate invoice. However, the

firm reserves the right to seek Bankruptcy Court approval of payment of separate fees and

expenses from other Debtor’s estates in the event such fees and expenses have benefited other

Debtor’s estates.

       WHEREFORE, PREMISES CONSIDERED, Kent Ries, Trustee herein, respectfully

prays for an Order of this Court approving the employment the Quilling Firm to perform

professional legal services in these cases, and for such other relief, at law or in equity, to which

the Trustee may show himself justly entitled.

                                              Respectfully submitted,

                                              Kent Ries, Attorney at Law
                                              PO Box 3100
                                              Amarillo, Texas 79116
                                              (806) 242-7437
                                              (806) 242-7440-Fax




MOTION FOR APPROVAL OF EMPLOYMENT OF SPECIAL COUNSEL FOR TRUSTEE - Page 3
                                              By: /s/ Kent Ries
                                                 Kent Ries
                                                State Bar No. 1691450

                                              COUNSEL FOR TRUSTEE



                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of June 2023, a true and correct copy of the above

and foregoing Motion was sent electronically via the Court’s ECF system on the United States

Trustee and parties requesting service.


                                               /s/ Kent Ries
                                              Kent Ries




MOTION FOR APPROVAL OF EMPLOYMENT OF SPECIAL COUNSEL FOR TRUSTEE - Page 4
                                          EXHIBIT “A”


THE STATE OF TEXAS                    §
                                      §       KNOW ALL MEN BY THESE PRESENTS:
DALLAS COUNTY                         §

                             DECLARATION OF HUDSON JOBE


       1.    I am a resident of Dallas, Dallas County, Texas; am over the age of 21 years and
am of sound mind and have never been convicted of an offense.

        2.      I am an attorney admitted to practice in the State of Texas, and possess all of the
qualifications of an attorney in the State of Texas.

        3.      I have reviewed the Motion by the Trustee for approval to retain my firm as special
counsel in these Chapter 7 bankruptcy cases. I am an attorney admitted to practice with extensive
knowledge and experience in the type of litigation at issue in the Motion and am in all respects
qualified to render the necessary legal services requested by the Trustee.

       4.       Prior to the Debtors’ chapter 7 filings, I discussed a possible representation of the
Debtors to file Chapter 11 bankruptcy cases with the Debtors’ CRO, Glenn Karlberg. I was never
formally retained and the Debtors chose not to move forward on Chapter 11 filings.

        5.       I have run a conflict search for my firm of the parties set forth on the attached
conflict list, which was compiled from the matrix in the Debtors’ bankruptcy cases. Two hits came
back from that search - Douglas Pritchett and Purina Animal Nutrition LLC. The firm is currently
acting as receiver in a case in Hunt County, Texas involving a Douglas Pritchett. I am unaware if
this is the same individual listed in the bankruptcy matrix in this case. Pending further
investigation, my firm will not represent the Trustee in any matter directly adverse to Douglas
Pritchett unless it is determined to be a different individual. With respect to Purina Animal
Nutrition LLC, the firm represented this company in a real estate title issue that concluded more
than a year ago, and believed to not involve property related to the Debtors.

        6.       Except as set forth above, based upon this search and my current understanding of
the parties in these bankruptcy cases, I am not aware of any prior or current representations of
my law firm of any of these parties. Accordingly, to the best of my knowledge and belief,
Quilling, Selander, Lownds, Winslett & Moser is disinterested and has no connection with the
Debtor, creditors of the estate, any party in the United States Trustee’s office or any other
parties. Similarly, to the best of my knowledge and belief, Quilling, Selander, Lownds, Winslett
& Moser does not have an interest adverse to the Estate.
Dated June 30, 2023.

                       /s/ Hudson M. Jobe
                       Hudson Jobe
                                CONFLICT LIST

Brian McClain                C Heart Ranch LLC           Jordan Robert Lesh
Rabo AgriFinance             Cactus Feeders Finance      Jordan and Jan Lesh
Mechanics Bank               LLC                         Julie Whitlock
MAP Enterprises              Cactus Operating LLC        Justin Stuever
Wild Horse Cattle Co.        Caleb Little                Keeling Cattle Feeders,
(Kentucky entities)          Carl Pickett                Inc.
Community First Bank in      Carraway Cattle             Keith Harris Farms, Inc.
Kentucky                     Chelsea Waters McClain      Kenneth Netardus
2B Farms                     Kentucky Department of      Kinsey Jones
AJ Jacques Living Trust      Agriculture                 Lazy J Arena, LLC
Arnold Braun                 Cody L. Simmons             Lazy J Cattle
Arnold Braun Trust           Colton Long                 Lesh Family Trust
Dr. Arnold Braun             Community Financial         Lesh Trucking
Buss Family Trust            Services Bank               Lyndal Van Buskirk
Caterpillar Financial        Cory Don Priest             Meagan B. Goad
Services Corporation         Crystal McClain             Meagan B. Powell
First Kentucky Bank          Curtis Jones                Michael Gourley
Gene Brookshire Family,      Curtis Jones Farms LLC      Mykel Linn Tidwell
LP                           David Rainey                Oklahoma AgCredit
Gray Brothers                Death Creek Farms LLC       Open A Arena LLC
Gungoll Cattle LLC           Don Jones                   Patty Priest
Jordan Lesh, LLC             Don Jones Farm Inc.         Priest Cattle Company,
Lesh Family Trust            Don Jones Trucking Inc.     Ltd.
Morrison Café LLC            Douglas Pritchett           Priest Cattle and Land
Northland Capital            Dwight Jesko                Company, Inc.
Financial Services LLC       Eric Dejarnatt              Priest Victory Investment
Scarlet and Black Cattle     First Capital Bank of       LLC
LLC                          Texas                       Producers Credit
Scott Livestock Company      First Kentucky Bank         Corporation
Inc.                         Friona Industries, L.P.     Rapp Ranch
Steve T. Scott Farms, Inc.   Frontier Farm Credit        Rick Rodgers
W. Robbie Russell Living     Garwood Cattle Company      Riley Livestock
Trust                        LLC                         Robert Braun
Acey Livestock LLC           Hines Cattle Company        Samuel S. Brown
Ag Texas Farm Credit         LLC                         Shaw & Shaw Farms
Services                     Hines Farms LLC             Partnership,LLC
AgTexas, PCA                 J. Brent Burnett            Sherman Trucking
Angela Powell                Jake Rininger               Stanley Ayers
Bar D Ranch Land &           Jared Lesh Cowhorses Inc.   TGF Ranch
Cattle LLC                   Jared Wayne Lesh            Takeuchi Financial
Big Seven Capital Partners   Jed Goad                    Services
LLC                          JLE Trucking, Inc.          Terry Burnett
Bo Robinson                  Jimmy D. Greer              Thorlakson Feedyards
Bryan Blackman               John Dale Tidwell           Tom Thorlakson
WJ Performance Horses,   Dustin Johnson      Robert & Rachel Steward
Inc.                     Eddie Bryant        Ronnie Gray
Wildforest Cattle        Eddie Stewart       Sherle Lockwood
Company LLC              Gary Lesh           Steve Ryan
Amy Sutton               Janet Van Buskirk   Steven Hines
Charles Lockwood         Janice Lawhon       Susan Van Buskirk
Colby Van Buskirk        Joel Brookshire     Wiley Russell, Jr.
Cole Lockwood            Leah Gungoll        Wiley Roby Russell, Jr.
Craig Sutton             Michael Evans       BJM Sales & Service
Don Hines                Miranda Evans       Heartland Co-Op
Dennis Buss              Nikki Lockwood      Purina Animal Nutrition
Dora Blackman            Robert Spring       LLC
Douglas Finley           Robert Gray
